Case 2:Ol-CV-02188-.]DB-STA Document 99 Filed 07/25/05 Page 1 of 3 Page|D 73

IN THE UNITED sTATES DISTRICT coUR'r F'E`"Q E'“`*"" %- D-C~
FoR THE WESTERN DISTRICT oF TENNESSEE

 

    

wESTERN DIVISIoN 95 JUL 25 PH l*: 07
to
RACHEL KATHRYN WHITE, CLE\§§§_'J|{;='- z tl`-if§§t??glgm
Plaimiffs,
VS. No. 01-2188- GA
SUNBELT RENTALS, INC.,

A North Carolina Corporation,

Defendants.

 

ORDER GRANTING UNOPPOSED MOTION TO ENLARGE TIME WITHIN WHICH
DEFENDANT SUNBELT RENTALS, INC. MAY RESPONDE TO PLAINTIFF’S
MOTION IN LIMINE TO EXCLUDE EVIDENCE REGARDING THE FAULT OF
PLAINTIFF’S EMPLOYER

 

Before this Honorable Court is Defendant Sunbelt Rentals, lnc. and Plaintiff Rachel
Kathryn White’s Unopposed Motion to Enlarge the Time Withjn Which Defendant Sunbelt
Rentals, lnc. May Respond to Plaintiff Rachel Kathryn White’s Motion in Limine to Exclude
Evidence. For good cause shown the motion for enlargement of time up to and including July
28, 2005 is GRANTED.

,-<tL
IT Is so 0RDERED this the 25 day of 2005.

 

J ` j`.j)s.~‘lp l$lu\
T D STATES DISTRIC ]UDGE

ThJs document entered on the docket sheet in compf`ranca
with Ru|e 58 andfor 79 (a) FRCP on o 5 QQ

Case 2:Ol-cV-02188-.]DB-STA Document 99 Filed 07/25/05 Page 2 of 3 Page|D 74

Respectfully Submitted,

 

JAMES B. SUMMERS (#4721)

Allen, Summers, Sirnpson, Lillie & Gresham, PLLC
Attorneys for Defendants

80 Monroe Avenue, Suite 650

Memphis, Tennessee 38103

(901) 763-4200

CERTIFICATE OF SERVICE

I, James B. Summers, do hereby certify that a copy of the foregoing Motion was
forwarded, via U.S. Mail, postage prepaid, on this the __ day of , , to
Attorney James F. Schaeffer Jr., counsel for, , at 2670 Union Avenue Extd., Suite 1224
Memphis, TN 38112.

 

JAMES B. SUMMERS

 

July 26, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 99 in
case 2:01-CV-02188 Was distributed by faX, mail, or direct printing on

ESSEE

 

William M. Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave.

Ste. 300

1\/lemphis7 TN 38103

W. Timothy Hayes

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/lemphis7 TN 38103

J ames F. Schaeffer

LAW OFFICES OF JAi\/[ES F. SCHAEFFER, JR.
2670 Union Ave.

Ste. 1224

1\/lemphis7 TN 38112

J ames ]3. Summers

ALLEN SUMMERS SIMPSON LILLIE & GRESHAl\/l7 PLLC
80 Monroe Ave.

Ste. 650

1\/lemphis7 TN 38103--246

Jerry O. Potter

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

